Case 2:02-cV-02891-BBD Document 90 Filed 05/12/05 Page 1 of 3 Page|D 121

»/l
anew et Uli‘f e.r;.

1N THE UNITED sTATES DISTRICT CoURT GL~: H,@~.‘r 12 Pz~:- 2: 35
FoR THE WESTERN DISTRICT OF TENNESSEE _
WESTERN DIVISION Y§?**

  

JIT CONCEPTS, INC.,
Plaintiff, Case No.: 02-2891 D V
v.
SHELBY COUNTY HEALTHCARE
CORPORATION d/b/a REGIONAL
MEDICAL CENTER AT MEl\/[PHIS,

Defendant`

 

ORDER DENYING MOTION IN LIMINE TO EXCLUDE TESTll\/IONY
FROM PHYSICIANS OTHER THAN ATUL MADAN, M.D.

 

lT APPEARING TO THE COURT that the motion of Plaintit`f, JIT Concepts, lnc., to
Exclude Testimony from Physicians Other Than Atul Madan, l\/I.D., is not Well-founded and should
be DENIED. Tlie letters are relevant as to Why the l'\/IED terminated the contract.

IT IS, THEREFORE, ORD ERED, ADJUDGED AND DECREED that the motion in limine

to exclude testimony from physicians other than Atul Madan, M.D. is DENIED.

IT Is so oRI)ERED this /£ ’4§13;/ of @W; ,2005.

B NICE BO DONALD
UNITED STATES DISTRICT JUDGE

Thfs document entered on the docket sheet ln comptlance

with eula 58 and/or 79(3) FecP on § » ig »OS Q O

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 90 in
case 2:02-CV-02891 Was distributed by faX, mail, or direct printing on
May 12, 2005 to the parties listed.

 

 

J. Brook Lathrarn

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Donna L. Boyce

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 3 8103--246

Mary Katherine Hovious

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Nichole Elizabeth Soule'
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Sherry S. Fernandez

McLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/1emphis7 TN 38103

J eff Srnith

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103

Eric J. Plumley

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Case 2:02-cV-02891-BBD Document 90 Filed 05/12/05 Page 3 of 3 Page|D 123

Mark S. Norris

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Michael G. McLaren

BLACK MCLAREN JONES & RYLAND
530 Oak Court Dr.

Ste. 3 10

1\/1emphis7 TN 38117

Thornas W. LeWis

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Honorable Bernice Donald
US DISTRICT COURT

